          Case 23-05009                   Doc 1-1           Filed 05/24/23             Entered 05/24/23 11:28:27                           Page 1 of 2
FORM 104 (08/07)
          ADVERSARY PROCEEDING COVER SHEET                                                                    ADVERSARY PROCEEDING NUMBER
                             (Instructions on Reverse)                                                        (Court Use Only)

PLAINTIFFS (Names and Addresses)                                                     DEFENDANTS (Names and Addresses)
                                                                                     Jayaraman Krishnan a/k/a Jayaraman Krishna
William K. Harrington, United States Trustee For Region 2
                                                                                     1769 Oenoke Ridge
Office of the United States Trustee
                                                                                     New Canaan, CT 06840-2643
Giaimo Federal Building
150 Court Street, Room 302
New Haven, CT 06510


ATTORNEYS (Firm Name, Address, and Telephone No.)                                    ATTORNEYS (If Known)
 Holley L. Claiborn, Trial Attorney
 Office of the United States Trustee
 Giaimo Fed. Bldg., 150 Court Street, Room 302, New Haven, CT 06510 203-773-5504

PARTY (Check One Box Only)                                                            PARTY (Check One Box Only)
    Debtor                U.S. Trustee/Bankruptcy Admin                                   Debtor               U.S. Trustee/Bankruptcy Admin
    Creditor              Other                                                           Creditor             Other
  Trustee                                            Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)

 Denial of Discharge pursuant to 11 U.S.C. §§ 727(a)(2) and (a)(4)(A)


                                                                         NATURE OF SUIT
                  (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

FRBP 7001(1) - Recovery of Money/Property                                            FRBP 7001(6) - Dischargeability (continued)
     11-Recovery of money/property - §542 turnover of property
                                                                                             61-Dischargeability - §523(a)(5), domestic support
     12-Recovery of money/property - §547 preference                                         68-Dischargeability - §523(a)(6), willful and malicious injury

     13-Recovery of money/property - §548 fraudulent transfer                                63-Dischargeability - §523(a)(8), student loan
     14-Recovery of money/property - other                                                   64-Dischargeability - §523(a)(15), divorce or separation obligation (other
FRBP 7001(2) - Validity, Priority or Extent of Lien                                           than domestic support)
                                                                                             65-Dischargeability - other
     21-Validity, priority or extent of lien or other interest in property
                                                                                     FRBP 7001(7) - Injunctive Relief
FRBP 7001(3) - Approval of Sale of Property
                                                                                             71-Injunctive relief - imposition of stay
     31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                             72-Injunctive relief - other
FRBP 7001(4) - Objection/Revocation of Discharge
                                                                                     FRBP 7001(8) Subordination of Claim or Interest
     41-Objection / revocation of discharge - §727(c),(d),(e)
                                                                                             81-Subordination of claim or interest
FRBP 7001(5) - Revocation of Confirmation                                            FRBP 7001(9) Declaratory Judgment
     51-Revocation of confirmation
                                                                                          91-Declaratory judgment
FRBP 7001(6) - Dischargeability                                                      FRBP 7001(10) Determination of Removed Action

     66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims                         01-Determination of removed claim or cause
                                                                                     Other
     62-Dischargeability - §523(a)(2), false pretenses, false representation,
              actual fraud                                                                   SS-SIPA Case - 15 U.S.C. §§78aaa et.seq.
     67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny             02-Other (e.g. other actions that would have been brought in state court if
                                                                                             unrelated to bankruptcy case)
      Check if this case involves a substantive issue of state law                            Check if this is asserted to be a class action under FRCP 23

      Check if a jury trial is demanded in complaint                                  Demand $
Other Relief Sought
        Case 23-05009               Doc 1-1           Filed 05/24/23             Entered 05/24/23 11:28:27           Page 2 of 2




NAME OF DEBTOR                                                                              BANKRUPTCY CASE NO.
   Jayaraman Krishnan a/k/a Jayaraman Krishna                                                 22-50045

DISTRICT IN WHICH CASE IS PENDING                               DIVISIONAL OFFICE               NAME OF JUDGE
  Connecticut                                                       Bridgeport                    Julie A. Manning



PLAINTIFF                                       DEFENDANT                                ADVERSARY PROCEEDING NO.


DISTRICT IN WHICH ADVERSARY IS PENDING                          DIVISIONAL OFFICE               NAME OF JUDGE


SIGNATURE OF ATTORNEY (OR PLAINTIFF)


  /s/ Holley L. Claiborn



DATE                                            PRINT NAME OF ATTORNEY (OR PLAINTIFF)
     May 24, 2023                                Holley L. Claiborn, Trial Attorney




         The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of
all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and
the jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also
may be lawsuits concerning the debtor's discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
proceeding.

        A party filing an adversary proceeding must also complete and file Form 104, the Adversary Proceeding Cover
Sheet, unless the party files the adversary proceeding electronically through the court's Case Management/Electronic Case
Filing system (CM/ECF). (CM/ECF captures the information on Form 104 as part of the filing process.) When
completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
information to process the adversary proceeding and prepare required statistical reports on court activity.

         The cover sheet and the information contained on it do not replace or supplement the filing and service of
pleadings or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is
largely self-explanatory, must be completed by the plaintiff's attorney (or by the plaintiff if the plaintiff is not represented
by an attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and the defendants exactly as they appear on the complaint.
Addresses should be listed for all Plaintiffs and Defendants.

Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by
an attorney, the plaintiff must sign.
